USCA4 Appeal: 21-1912    Doc: 60          Filed: 10/26/2023       Pg: 1 of 1



                           UNITED STATES COURT OF APPEALS
                               FOR THE FOURTH CIRCUIT
                         1100 East Main Street, Suite 501, Richmond, Virginia 23219

                                          October 26, 2023

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                                   RESPONSE REQUESTED
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        No. 21-1912,         Bishop of Charleston v. Orangeburg County
                             2:21-cv-01093-BHH

        TO:     South Carolina Independent Colleges and Universities, Inc.
                Bishop of Charleston
                State of South Carolina

        RESPONSE DUE: 11/06/2023

        Response is required to the motion to dismiss on or before 11/06/2023.

        Karen Stump, Deputy Clerk
        804-916-2704
